Case 1:05-cV-02342-WYD-|\/|.]W Document 47 Filed 06/27/06 USDC Co|orado _Page 1 Of 49

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

Civil Acuon No. 05-'¢\/- OQ`BL+` ali W `\\b ~ M °5\/\/
(To be supplled by the court)

 

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DEN.H> ~ ("»=A.r'!r)

V.
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, Defenda.nt(s).

 

(List each named defendant on a separate line.) _

 

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A. PARTIES

1. N\hal_ A. A\lq,qi:,# tbqlv.pgo, unused Sl:al:es P<um\<>_m&rar\¢\.-,v\éx

(Plaintitf’s name, prisoner identification number, and complete mailing addres'S)

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2- Mx‘ mesa-m aw\)-z,¢u_e§, umwa states aeeome»r~ <:¢@V\@ml

(Narne, title, and address of first defendant)

 

At the time the elairn(s) alleged in this complaint arose, was this defendant acting underu
color of state law? _ Yes _\L No (CHECK ONE). Briefly explain your answer:

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(Narne, title, and address of second defendant)

q%€ P@nns\g(uamc~ Fh/e, /Vw_,~ washington DC`. 5205`3§`

At the time the claim(s) alleged in this complaint arose, Was this defendant acting under
color of state law? __ Yes L No (CHECK ONE). Briefiy explain your answer:

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4. Q, WH_€\{, menard ,~ M-S- Pzntleal\ar»,t. ,m¢\ x C”Aax")
(Name, title, and address ot` thir`d defendant)

P.D. BOX 3500 , Flc)rence, Co ?SIZZ-é »£z`§c)c;)

At the time the claim(s) alleged in this complaint arose, was this defendant acting under
color of state law? __ Yes _;¢ No (CHECK ONE). Briefly explain your answer:

&¢.LJ% ug¢,_la- §§ &a(em,./ LAC»J, awarded arp éaérca/ fgn`sor)..

 

 

{lf you are suing more than three defendants, use extra paper to provide the information
requested above for each additional defendant The information about additional defendants
should be labeled "A. PARTIES.”)

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B. JURISDICTION

1. I assert jurisdiction over my civil rights claim(s) pursuant to: (check one if applicable)

28 U.S.C. § 1343 and 42 U.S.C. § 1983 (State prisoners)

\/ 28 U.S.C. § 1331 and Bivens v. Sr`x Unknown Named Agents ofFed. Bureau
ofNarcotics, 403 U.S. 388 (1971) (federal prisoners)

2. l assert jurisdiction pursuant to the following additional or alternative statutes (if any):

Nl/-’l

 

C. NATURE OF TI~IE CASE
BRIEFLY state the background of your case. If more space is needed to describe the nature

of the case, use extra paper to complete this section The additional allegations regarding the
nature of the case should be labeled “C. NATURE OF TI-IE CASE.”

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D. CAUSE OF ACTION
State concisely every claim that you Wish to assert in this action For each claim, specify the
right that allegedly has been violated and state all supporting facts that you consider important,
including the date(s) on which the incident(s) occurred, the name(s) of the specific person(s)
involved in each claim, and the specific facts that show how each person Was involved in each
claim. You do not need to cite specific cases to support your claim(s). If additional space is
needed to describe any claim or to assert more than three claims, use extra paper to continue

that claim or to assert the additional claim(s). The additional pages regarding the cause of
action should be labeled “D. CAUSE OF ACTION.”

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3. Claim Three: ’F/)€ d£@rdanjk< Wd(a(£¢/ 1410 plainh?p's fBWH» Am€mo/m¢»»l'

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E. PREVIOUS LAWSUITS

Have you ever filed a lawsuit, other than this lawsuit, in any federal or state court while you
were incarcerated? 14 Yes __ No (CHECK ONE). If your answer is "Yes," complete this
section of the form. If you have filed more than one lawsuit in the past, use extra paper to
provide the necessary information for each additional lawsuit The information about
additional lawsuits should be labeled "E. PREVIOUS LAWSUITS."

1. Narne_(s) of defendant(s) in prior
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2. Docket number and court name: li cv_oz _ 119 S’, (,l_g'_j);$,c,§~¢; camp M{z/‘,//€ /)l»~§h,§-Cf
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3. Claims raised in prior lawsuit Cem § rd ~ ch
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4. Disposition of prior lawsuit (for
example, is the prior lawsuit still
pending? Was it dismissed?): bi Smasw 91

 

5. If the prior lawsuit Was dismissed, _
When was it dismissed and Why? jim 23*¢€ 2601 fogg/damp md+?eh /QN,
S“Vfrmm"'{ joelme &a (ZF\N-Tcég_‘)

6. Result(s) of any appeal in the prior
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F. ADM§INISTRATIVE RELIEF

l. Is there a formal grievance procedure at the institution in which you are confined?
Z_ res _ No (CHECK oNE).

Did you exhaust available administrative remedies? __¢ZYes __ No (CHECK ONE).

If yes, either attach copies or describe With specificity how you have exhausted
administrative remedies lf no, briefly explain why not:

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G. REQUEST FOR RELIEF

State the relief you are requesting If you need more space to complete this section, use extra
paper. The additional requests for relief should be labeled “G. REQUEST FOR RELIEF.”

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DECLARATION UNDER PENALTY OF PERJURY

l declare under penalty of perjury that l am the plaintiff in this action, that l have read
this complaint, and that the information in this complaint is true and correct See 28 U.S.C.

§ 1746; 18 U.S.C. § 1621.

Executed on IME:§§;S”, 2009 [5/93/51'°°’6.]
(Date) '

eac/é/

(Prisoner’s Ol‘iginal Signature)

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U.S. Department of Justice
Federal Bureau of Prisons
United States Penitentiary
Administrative Maximum

 

 

Oj‘lce of the Warden Florence, CO 8]226

Ma.rch 29, 2006

 

MEMORAND r Number 16917-050
FROM:
SUBJECT: Notification of Extension/Modification of Special Administrative

Measures

Pursuant to 28 C.F.R. § 501 .3, special administrative conditions Were implemented regarding
your confinement The Bureau of Prisons adopted these special administrative conditions based
on information of your proclivity for violence There is a substantial risk that your
communications or contacts With persons could result in death or serious bodily injury to
persons, or substantial damage to property that Would entail the risk of death or serious bodily
injury to persons Therefore, you are restricted in access to the mail, the media, the telephone,
and visitors This SAM Will commence immediately upon expiration of the prior SAM
authorization period and Will be in effect for a period of one (l) year, subject to further direction.

l. General Provisions:

a. Adherence to Usual United States Marshals Service (USMS), Bureau of Prisons
(BOP) and Detention Facility (DF) Policy Requirement - ln addition to the below
listed SAM, you must comply vvith all usual USMS, BOP, and non-BOP DF policies
regarding restrictions, activities, privileges, communications, etc. If there is a conflict
between USMS/BOPIDF policies and the SAM, as set forth herein, Where the SAM is
more restrictive than usual USMS/BOP!DF policies, then the SAM shall control. If usual
USMS/BOP/DF policies are more restrictive than the SAM, then USMS/'BOP/DF
policies shall control

b. Interim SAM Modification Authority - During the term ot` this directive, the Director,
Oftice of Ent`orcernent Operations (OEO), Criminal Division, may modify your SAM as
long as any SAM modification authorized by OEO:

i. Does not create a more restrictive SAM;

 

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ii. Is not in conflict With the request of the Counterterrorism Section (CTS/CR_M), the
U.S. Attorney for the Southern District ofNeW York (USA/SDNY), Federal Bureau
of lnvestigation (FBD, or USMS/BOP/DF, or applicable regulations; and

iii. Is not objected to by the CTS/CRM, USMSb_NY, FBI, or USMS/BOP/DF.

c. Inmate Communications Prohibitions - You are limited, Within USMS/BOP/DF's
reasonable efforts and existing confinement conditions, from having contact (including
passing or receiving any oral, Written or recorded communications) With any other
inrnate, visitor, attorney, or anyone else except as outlined and allowed by this document
that could reasonably foreseeably result in your communicating information (sending or
receiving) that could circumvent the SAM’s intent of significantly limiting your ability to
communicate (send or receive) information relating to terrorist information

d. Use of Interpreters/Translators by USMS/BOP/])F - Translator Approval
Requirements:

i. The USMS/BOP/DF may use Department of Justice (DOJ) approved translators as
necessary for the purpose of facilitating communication With you.

ii. No person shall act as a translator Without prior written clearance/approval from
USMS/BOP/DF, Which shall only be granted after consultation With the FBI and
USA/SDNY.

iii. Translators utilized by USMS/BOP/DF shall not be allowed to engage in, or overhear,
unmonitored conversations With you. Translators shall not be alone With you, either
in a room or on a telephone or other communications medium.

2. Attornev/Client Provisions:

a. Attorneyl Affirmation of Receipt of the SAM Restrictioos Document a Your attorney
(or counsel) - individually by each if more than one (l) - must sign an affirmation
acknowledging receipt of the SAM restrictions document By signing the affirmation, the

 

1 The term “attorney” refers to the inmate's attorney of record Who has been verified

and documented by the USA/SDNY, and Who has received and acknowledged receipt of the SAM
restrictions document As used in this document, “attorney” also refers to more than one ( l) attorney
where the inmate is represented by two (2) or more attorneys, and the provisions of this document
shall be fully applicable to each such attorney in his/her individual capacity

 

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attorney acknowledges his/her awareness and understanding of the SAM provisions and
his/her agreement to abide by these provisions, particularly those that relate to contact
between you and your attorney and the attorney's staff`. The signing of the affirmation
does not serve as endorsement of the SAM or the conditions of confinement, and does not
serve to attest to any of the factors set forth in the conclusions supporting the SAM.
However, in signing the aflirmation, your attorney, and pre-cleared Staff, acknowledge
the restriction that they will not forward third-party messages to or from you.

i.

ii.

iii.

The USA/SDNY shall present, or forward, the attorney affirmation of receipt of the
SAM restrictions document to your attorney

After initiation of SAM and prior to your attorney being permitted to have
attorney/client»privileged contact with you, your attorney shall execute a document

' affirming receipt of the SAM restrictions document and return the original to the

USA/SDNY.

The USA/SDNY shall maintain the original of the SAM acknowledgment document
and forward a copy of the signed document to the Office of Enforcement Operations
(OEO) in Washington D.C. and the USMS[BOP/DF.

b. Attorney Use of Interpretersfl`ranslator:

i.

ii.

Necessity Requirement - No interpreter/translator (translator) shall be utilized unless
absolutely necessary where you do not speak a common language with the attorney.
Any translator shall be preclea.red.;1

Attorney Immediate Presence Requirement - Any use cfa translator by the
attorney shall be in the physical and immediate presence of the attorney - in the same
room. The attorney shall not patch through telephone calls or any other
communication, to or from you.

 

2

“Precleared" refers to a translator, who is actively assisting the inmate's attorney with

the inmate's defense, who has submitted to a background check by the FBI and USA/SDNY, who
has successfully been cleared by the FBI and USA/SDNY, and Who has received a copy of the
inmate's SAM and has agreed - as evidenced by his/her signature - to adhere to the SAM restrictions
and requirementsl

 

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iii. Translation of Your Correspondence - An attorney of record may only allow a
federally~approved translator to translate your correspondence as necessary for
attomey/client-privileged cormnunication.

c. Attornenylient-Privileged Visits - May be contact or non-contact, at the discretion of
the USMS/B OP/DF.

d. Attorney May Disseminate Your Conversations - Your attorney may disseminate the
contents of your communication to third parties for the sole purpose of providing
necessary legal services related to any post-conviction proceedings - and not for any other
reason - on the understanding that any such dissemination shall be made solely by your
attorney, and not by the attomey's staff.

e. Unaccompanied Attorney’s Pre-cleared Paralegal(s)3 May Meet With You - Your
attomey's pre-cleared paralegal(s) may meet with you without-the necessity of your
attorney being presentl An investigator or translator may not meet alone with you. These
meetings may be contact or non-contact, at the discretion of the USMS:'BOP/DF.

f. Simultaneous Multiple Legal Visitors - You may have multiple legal visitors provided
that at least one (1) of the multiple legal visitors consists of your attorney or pre-cleared

paralegal. These meetings may be contact or non-contact, at the discretion of the
USMS/BOP!DF.

g. Legally Privileged Telephone Calls - The following rules refer to all legally-privileged
telephone calls or communications:

i. Your Attorney's Pre-clearecl Staff May Participate in Inmate Telephone Calls -
Your attomey’s pre-cleared staff are permitted to communicate directly with you by

 

3 " Pre-cleared" when used with regard to an attomey's staff`, or "pre-cleared staff

member“, refers to a co-counsel, paralegal, or an investigator who is actively assisting the inmate's
attorney with the inmate's defense, Who has submitted to a background check by the FBI and
USA/SDNY, who has successfully been cleared by the FBI and USA!SDNY, and who has received
a copy of the inmate's SAM and has agreed » as evidenced by his/her signature - to adhere to the
SAM restrictions and requirements As used in this document, "staff`member" also refers to more
than one (1) staff member, and the provisions of this document shall be fully applicable to each such
staff member in his/her individual capacity A "paralega “ will also be governed by any additional
DF rules and regulations concerning paralegals

 

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telephone, provided that your attorney is physically present and participating in the
legal call as well.

ii. Your Initiatiou of Legally-Privileged Telephone Calls - Your initiated telephone
communications with your attorney or pre-cleared staff are to be placed by a
USMS/BOPfDF staff member and the telephone handed over to you only after the
USMS/BOP!DF staff member confirms that the person on the other end of the line is
your attorney This privilege is contingent upon the following additional restrictions:

(1) Your attorney will not allow any nonpre-cleared person to communicate with you,
or to take part in and/or listen to or overhear any communications With you.

(2) Your attorney must instruct his/her staff that:

(a) Your attorney and pre~cleared staff are the only persons allowed to
engage in communications with you.

(b) Your attorney’s staff (including the attorney) are not to patch through,
forward, transmit, or send your communications to third parties

(3) No telephone call/communication, or portion thereof, except as specifically
authorized by this document

(a) ls to be overheard by a third party“.

(b) Will be patched through, or in any manner forwarded or transmitted to a
third party.

(c) Shall be divulged in any manner to a third party, except as otherwise

provided in Section 2d

 

4

For purposes of the SAM, “third party” does not include officials of the
USMS/BOP/DF/'FBl/DOJ, or other duly authorized federal authorities when acting in connection
with their official duties. This section does not allow monitoring of attomey/client privileged
communicationsl

 

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(d) Shall be in any manner recorded or preserved5 Your attorney may
make written notes of attorney/client privileged communications

(4) lf USMS/BOP/DF, FBI or USA/SDN.Y determines that you have used or are using
the opportunity to make a legal call to speak with another inmate or for any other
non-legal reason that would circumvent the intent of the SAM, your ability to
contact your attorney by telephone may be suspended or eliminated

h. Your Attorney May Provide You Documents - Your attorney may provide you with or
review with you, documents related to any post-conviction proceedings so long as any of
the foregoing documents are translated, if translation is necessary, by a pre-cleared
translator. Any document not related to such proceedings must be sent to you via general
correspondence and will be subject to the mail provisions of subparagraphs 2i and 3g.
Documents previously reviewed and cleared for receipt by you, and already in your
possession at the outset of the visit, may be discussed or reviewed by you and your
attorney during the visit. '

i. None of the materials provided may include inflammatory materials, materials
inciting to violence or military training materials or materials that may be used to
pass messages from inmate to inmate, unless such materials have been pre-cleared by
the USA/SDNY and the FBI.

ii. The USA!SDNY may authorize additional documents to be presented to you. lf any
document not listed or described above needs to be transmitted to you, consent for the
transmission of the document can be obtained from the USA!SDNY without the need
to formally seek approval for an amendment to the SAM.

i. Legal Mail - Your attorney may not send, communicate, distribute, or divulge your mail,
or any portion of its contents (legal or otherwise) to third parties6

i. in signing the SAM acknowledgment document, your attorney and pre-cleared staff
will acknowledge the restriction that only your case-related documents will be

 

5 Except by USMS/BOP/DF/FBl/DOJ or other duly authorized federal authorities

This section does not allow monitoring of attomey/client privileged communications

6 Legal mail is defined as properly marked correspondence (marked "Legal Mail“)
addressed to or from the inmate's attorney of record. All other mailJ including that otherwise defined
by the USMS!BOP/DF as Special Mail, shall be processed as "non-legal mail."

 

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presented to you, and that neither your attomey nor his/her staff will forward third-
party mail to or from you.
3. Inmate’s Non-Legal Contacts:
a. Non-Legal Telephone Contacts:

i. You are limited to non-legal telephone calls with your immediate family members_7

ii. The quantity and duration of your non-legal telephone calls with your immediate
family members shall be set by the USMS/BOP!DF, With a minimum of one (1) call
per month, unless otherwise agreed upon by USMS/BOP/DF, FBI and USA/SDNY to

allow more calls.

b. Rules for Telephone Calls - For all non-legally privileged telephone calls or
communications no telephone cali/communication, or portion thereof:

i. ls to be overheard by a third party.8

ii. ls to be patched through, or in any manner forwarded or transmitted, to a third party.
iii. Shall be divulged in any manner to a third party.

iv. Shall be in any manner recorded or preserved9

All telephone calls shall be in English unless a fluent FBI, USMS/BOP/DF approved

translator is available to contemporaneously monitor the telephone call. Arranging for a
translator may require at least fourteen (14) days advance notice.

 

7 The inmate's “immediate family members” are defined as the inmate's

(USMS/BOP/DF/FBl-veriiiable), spouse, natural children, parents, and siblings

8 For_purposes of the SAM, "third party“ does not include officials of the
USMS/BOP/DF/FBl/DOJ, or other duly authorized federal authorities when monitoring in
connection with their official duties This section does not allow monitoring of attorney/client
communications

9 Except by USMS/BOP/DF/FBHDOJ, or other duly authorized federal authorities

 

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c. a Telephone SAM Restriction Notifications - For all non-legal telephone calls to your
immediate family member(s):

i. The USMS/BOP/DF shall inform you of the telephone SAl\/l restrictions prior to each
telephone call

ii. The USMS/BOP/DF shall verbally inform your immediate family member(s) on the
opposite end of your telephone communication of the telephone SAM. The
USMS/BOP/DF is only required to notify your communication recipient in English.

iii. The USMS/BOP/DF shall document each such telephone notification

d. Family Call MonitoringH All calls with your immediate family member(s) shall be:
i. Contemporaneously monitored by the FBl.

ii. Contemporaneously recorded (as directed by the FBI) in a manner that allows such
telephone calls to be analyzed for indications the call is being used to pass messages
soliciting or encouraging acts of violence or other crimes, or to otherwise attempt to
circumvent the SAM.

iii. A copy of each inmate/immediate family member telephone call recording shall be
provided by USMS/BOP/DF on a single, individual, cassette tape (per call) for
forwarding to the FBI. These recordings shall be forwarded on a call-by~call basis as
soon as practicable

e. Improper Communications - lf telephone call monitoring or analysis reveals that any
call or portion of a ca11 involving you contains any indication of a discussion of illegal
activity, the soliciting or encouraging of acts of violence or terrorism, or actual or
attempted circumvention of the SAM, you shall not be permitted any further calls to your
immediate family members for a period of time to be determined by USMS/`BOP/DF. lf
contemporaneous monitoring reveals such inappropriate activity, the telephone call may
be immediately terminated

f_ Non-legal Visits ~
i. Limited Visitors - You shall be permitted to visit with only your immediate family

members The visitor's identity and family member relationship to you will be
confirmed by the USMS/BOP/DF and FBI in advance

 

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ii.

English Requirement - All communications during your non-legal visits will be in
English unless a fluent FBl/USMS/BOP/DF-approved translator is readily available to
contemporaneously monitor the communication!visit.

iii. Visit Criteria - All non-legal visits will be:

(1) Contemporaneously monitored by USMSfBOPfDF and/or FBI, in a manner that
allows such visits to be analyzed for indications the visit is being used to pass
messages soliciting or encouraging acts of violence or other crimes, or to
otherwise attempt to circumvent the SAM.

(2) Permitted only with a minimum of fourteen (14) calendar days advance written
notice to the USMS/BOP/DF facility where you are housed.

(3) Without physical contact All such meetings shall be noncontact to protect
against harm to visitors or staff should you attempt to take hostages

(4) Limited to one (l) adult visitor at a time. However, FBl-verified children of yours
may visit with a pre-approved adult visitor.

g. Non-legal Mail - Any mail not clearly and properly addressed to/frorn your attorney and
marked "Privileged" (incoming or outgoing). Non-legal mail is limited to only your
immediate family, U. S. courts, federal judges, U. S. Attorneys' Offices, members ofU. S.
Congress, BOP, other federal law enforcement entities, and, if you are a citizen of a
foreign country, a verified consular representative of that country.

ii.

General correspondence With limitations: correspondence is restricted to only
immediate family members Volume and frequency of outgoing general
correspondence with immediate family members only is limited to three (3) pieces of
paper (not larger than 8 112 x ll), double-sided, once per calendar week to a single

recipient The identity and family member relationship to you will be confirmed by
USMS/BOP/DF and FBl.

General correspondence Without limitations: correspondence to U. S. courts,
federal judges, U. S. Attorneys' Offices, members of U. S. Congress, BOP, and other
federal law enforcement entities There is no volume nor frequency limitation on
mail to/from these parties unless there is evidence of abuse of these privileges
threatening correspondence is detected, circumvention of the SAM is detected, or the
quantity to be processed becomes unreasonable to the extent that efficient processing

 

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iii.

iv.

to protect the security, good order or discipline of the institution the public or
national security may be jeopardized

All non-legal mail will be:

(l) Copied - shall be copied (including the surface of the envelope) by the warden, or
his/her designee, of the facility in which you are housed.

(2) Forwarded - shall be forwarded, in copy form, to the location designated by the
FBl.

(3) Analyzed - After government analysis and approval, if appropriate your
incoming/outgoing non-legal mail will be forwarded: l) to the USMS!BOP/DP
for delivery to you (incoming); or 2) directly to the addressee (outgoing).

The Federal Government will forward your non-legal mail to the USMS/BOP/DF for
delivery to you or directly to the addressee after review and analysis period of:

(a) A reasonable time not to exceed fourteen (14) business days for mail
which is written entirely in the English language.

(b) A reasonable time not to exceed sixty (60) business days for any mail
which includes writing in any language other than English, to allow for
translation

(c) A reasonable time not to exceed sixty (60) business days for any mail

where the Federal Government has reasonable suspicion to believe that
a code was used, to allow for decoding.

Mail Seizure - lf outgoing/incoming mail is determined by USMS/BOP{DF or FBl to
contain overt or covert discussions of or requests for illegal activities, the soliciting or
encouraging of acts of violence or terrorism, or actual or attempted circumvention of
SAM, the mail shall not be delivered/forwarded to the intended recipient but referred

to the FBI for appropriate action You shall be notified in writing of the seizure of
any mail.

4. Communication with News Media: You will not be permitted to talk with, meet with,
correspond with, or otherwise communicate with any member, or representative7 of the news

media, in person, by telephone, by furnishing a recorded messageJ through the mail, through
your attorney, through a third party, or otherwise

 

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5. No Group Prayer:

El.

b.

You shall not be allowed to engage in group prayer with other inmates

If an FBI and/or USMS/BOPfDF approved religious representative is to be present for
prayer with you, the prayer shall be conducted as part of a contact or non-contact visit, at
the discretion of the USMS/BOP/DF.

6. No Communal Cells and No Communication Between Cells:

You shall not be allowed to share a cell with another inmate

You shall be limited within the USMS!”BOP/DF's reasonable efforts and existing
confinement conditions from communicating with any other inmates by making
statements audible to other inmates or by sending notes to other inmates

7. Recording Conversations Between Cells:

a.

b.

The USMS/BOP/DF/FBI are hereby authorized to place microphones in the hallways and

elsewhere outside your cell to record any statements made by you to other inmates or
staff.

The Notice of SAM given to you shall notify you that you are subject to such recording

S. Cellblock Procedures:

You shall be kept separated from other inmates as much as possible while in the cellblock
3.`[`@3.

You shall be limited, within USMS/BOP/DF's reasonable efforts and existing
confinement conditions from communicating with any other inmate while in the
cellblock area.

9. Commissary Privileges: The USMS/BOP/DF shall restrict access to commissary items or

any other objects determined by USMS/BOP/DF to be capable of being converted into
dangerous instruments

10. Access to Mass Communications: To prevent you from receiving and acting upon
critically-timed information or information coded in a potentially undetectable manner, your
access to materials of mass communication is restricted as follows:

 

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a. Periodicals/Newspapers-

i. You may have access to publications determined not to facilitate criminal activity or be
detrimental to national security; the security, good order or discipline of the
institution; or the protection of the public. This determination is to be made by the
FBl, in consultation with the USMS/BOP/DF and USA/SDNY.

ii. Sections of the periodical/newspaper which offer a forum for information to be passed
by unknown and/or unverified individuals including but not limited to classified
advertisements and letters to the editor, should be removed from the
periodicals/newspapers prior to distribution to you.

iii. You shall then have access to the remaining portions of the periodicals/newspapers in
accordance with USMS/BOP/DF policy, after a delay of at least thirty (30) days ln
accordance with subparagraph 3g above, the FBl will review the remaining portions

of the publications prior to distribution to you and be responsible for any translations
required

iv. ln order to avoid passing messages/information from inmate to inmate, you shall not
be allowed to share the publication(s) with any other inmates

b. Television and Radio - You are restricted from access to channels/stations Which
primarily broadcast news, but are permitted access to all other radio and television
channelsfstations, in accordance with USMS/BOP/DF policies

c. Termination or Limitation - lf the USMS/BOP/DF determines that the mass
communications are being used to send messages to you relating to the furtherance of

terrorist activities, your access may be limited or terminated for a period of time to be
determined by the USMS/BOP/DF.

11. Freguent Cell Searchcs: The USMS/BOP/DF is hereby directed to search your cell
frequently and to take appropriate disciplinary action for any infractions

12. Transfer of Custody: ln the event that you are transferred to or from the custody of the
USMS, BOP or any other DF, the SAM provisions authorized for you will continue in effect,
without need for any additional D()l authorization

 

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These conditions are imposed by the Bureau ofPrisons at the request of the Attorney General,
through his designated agent, the Assistant Attorney General.

Received: March !'§W, 2006 MS-vf£>‘¢ 5,"3,`) >/

(Thirteen pages) Nidal Ayyad
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